  Case 18-05999         Doc 41 Filed 10/09/20 Entered 10/13/20 10:32:18         Desc Main
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                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                      Eastern Division

In Re:                                     )            BK No.:      18-05999
                                           )
Farias, Anthony                            )            Chapter: 7
Olson-Farias, Jill K.                      )
                                                        Honorable LaShonda Hunt
                                           )
                                           )            Joliet
               Debtor(s)                   )
                        ORDER GRANTING TRUSTEE'S APPLICATION FOR
                               COMPENSATION AND EXPENSES

       THIS MATTER BEING HEARD on the Trustee's final requests for the allowance of fees and
expenses of administration, notice having been given and the Court being duly advised:

  IT IS HEREBY ORDERED that the Trustee's compensation and expenses are allowed as follows:

    1. Trustee's compensation $ 2,225.00
    2. Trustee's expenses     $     9.00

  IT IS FURTHER ORDERED that the Trustee is directed to pay the allowances listed above.




                                                     Enter:


                                                              Honorable LaShonda A. Hunt
Dated: October 09, 2020                                       United States Bankruptcy Judge

 Prepared by:
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